Case 1:18-mj-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 1 of 7 PagelD #: 2

AO 91 (Rev. ll/l 1) Criminal Complaint

UNITED STATES DISTRICT CoURT

for the '

Southern District of lndiana

 

 

 

 

United States of~America )
v. )
) Case No.
) 1;18-mj-0634
JOSE RAUL |RENE-SUAREZ §
)
De]endant(s)
CRIMINAL COMPLAINT
l, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of n June 13, 2018 in the county of NlariOn in the
Southern District of 4 |ndiana j , the defendant(s) violated:
Coa'e Section O/j‘”ense Description
18 U`.S.C. § 922(9)(5)(A) A|ien who is unlawfully present in the United States, and illegally possessed a
flrearm ,

This criminal complaint is based on these facts:

d Continued on the attached sheet. v MM

Wi|liam Blrkofer, Special Agent, HSl

 

Complainant ’s signature

 

Printed name and title

Sworn to before me and signed in my presence.

Date; 06/26/2018 %VM

Judge 's signature

City and State; lndianapolls, lN Debra l\/|c\/lcker,Lynch, U.S. Magistrate Judge

Pri`ntea' name and title

 

Case 1:18-mj-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 2 of 7 PagelD #: 3

AFFlDAVIT
Your Afflant, Special Agent (SA) William Birkofer, is employed by the U.S. Department of
Homeland Security (DHS), Homeland Security lnvestigations (HSI) and has been so
employed for approximately eight (8) years. Prior to that, SA Birkofer was employed as a
v U.S. Postal Inspector for the U.S. Postal Inspection Service for approximately eight (8) years
and as a Special Agent for the U.S. Customs Service Offlce of lnvestigations for
approximately thirteen (13) years. SA Birkofer has attended numerous classes at the Federal
Law Enforcement Training Center, to include the Criminal Investigator School, the U.S.
Customs Service Basic Enforcement School, U.S. Postal lnspection Service Basic Academy

' and DHS ICE Special Agent Training School.

l. Your Afflant is a sworn Federal agent empowered under the laws of the United States
to investigate violations of federal firearm laws pertaining to the Gun Control Act of
1968, and has focused attention on the detection and apprehension of individuals
violating both federal and state laws, to include 18 United States Code Section 922.
Additionally, in connection with his official duties, SA Birkofer also investigates
criminal violations of the federal narcotics laws; money laundering, outbound and
inbound contraband smuggling and bulk cash smuggling; as well as administrative and

criminal immigration laws.

2. Your Affiant regularly conducts joint firearm related investigations with Special
Agents of the Bureau of Alcohol, Tobac_co, Firearms and Explosives (ATF), other

state, local and federal law enforcement agencies with concurrent jurisdiction and has

Case 1:18-mj-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 3 of 7 PagelD #: 4

experience conducting interviews, making arrests, executing search warrants which

have resulted in the seizure of firearms and other related evidence.

. Your Affiant has been investigating Jose Raul IRENE-Suarez (HH\/[, DOB XX-XX-
1986) ("IRENE"). There is probable cause to believe IRENE is an alien who is
unlawfully present in the United States, and illegally possessed a firearm, in violation
of Title 18, United States Code, Section 922(g)(5)(A). This Affidavit is submitted in

support of a criminal complaint and arrest warrant for Jose Raul IRENE-Suarez.

. Probable cause is based on information set forth in the following paragraphs, which is
j either known personally to me or has been related to me by law enforcement officers '
or other court documents Since this affidavit is being submitted for the limited
purpose of securing an arrest warrant, Your Affiant has not included each and every

fact known to me concerning this investigation

. During September of 2017, >HSI lndianapolis received Tipline information from ICE
Headquarters that J.R. Audio and Parts, 6250 West 38th Street, Suite A, Indianapolis, IN
46254 was employing illegal aliens at that location. The owner of the business was
identified as Jose IRENE, born: XX/XX/l_986, residing at 4025 Gamay Lane, lndianapolis,
IN 46254. ln addition to this Tipline referral, an investigation was initiated locally in
conjunction with an HSI national agency initiative involving the service of “Notice of
Inspections” scheduled for March 2018. Your Affiant conducted Immigration history
checks on IRENE which revealed that on or about August 6, 2004, IRENE was first

encountered by Customs and Border Protection after entering the U.S. illegally at or near

Case 1:18-mj-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 4 of 7 PagelD #: 5

Columbus, NM and as a result was voluntarily returned to Mexico.

6. On March 6, 2018, at approximately 1105 hours HSI Special Agents including Your
Affiant entered the business address of J.R. Audio and Parts, 6250 West 38th Street, Suite
A, Indianapolis, IN 46254 and properly identified themselves Agents spoke with Jose
IRENE who identified himself as the owner. A Notice of Inspection was served along
with a l-138 Administrative Subpoena for business documents and a tentative time for the
agents to return to J.R Audio for an I-9 inspection was set for March 12, 2018. While
serving the Notice of Inspection on March 12, 2108, Your Affiant provided a current blank
1-9 Form to IRENE. IRENE spoke English and appeared to understand the information
presented to him by the agents IRENE indicated he did not know what an I-9 was and
had not prepared any I-9’s previously for his business He stated he did not have an
attorney and was just getting a book-keeper set up to assist him with his finances lt
appeared that there were at least two other “employees” present, however it could not be
determined if any other potential employees were in the work bays at the rear of the

business

. On June 13, 2018, at approximately 1300 hours, Your Affiant along with Special Agent
Jonathan Cotteleer encountered IRENE at his place of business, J.R. Audio and Parts
LLC, 6250 W. 38“‘ Street, Indianapolis, lN 46254 for the purpose of placing him in
administrative Immigration removal proceedings as the result of information discovered
during the aforementioned I-9 investigation The agents identified themselves to IRENE
even though IRENE had previously met both agents as part of the 1-9 investigation

There was a vehicle running in the back part of the business and the business was filled

Case 1:18-mj-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 5 of 7 PagelD #: 6

with exhaust fumes Your affiant asked IRENE if they could speak outside in front of
the business because it was too loud and full of exhaust fumes due to the running vehicle.
IRENE indicated he would speak with the agents but first asked them to hold on and he
stepped into the back-work bay out of sight for a moment. Once he reappeared he was
again asked if he would step outside to talk. IRENE sat down in the middle of the room
and asked what the visit was about. Your affiant proceeded to explain as part of the
investigation it was determined there was a problem with his status and that he was not in
the U.S. legally. Your Affiant explained they needed to take him to the lndianapolis
Office for Immigration and Customs Enforcement for processing and that he was under

arrest for Immigration violations

. Due to the fact that IRENE was cooperative in previous encounters he was not cuffed
inside his business and was allowed to walk to the agent’s vehicle. While walking to the
car, Your Affiant asked IRENE why he stepped into the back bay and IRENE indicated
he was putting a handgun away and that it was a Taurus that he put by the microwave in

the back-work area.

. IRENE was cuffed by Your Affiant at the car and placed in the front seat where he was
read his constitutional rights verbatim from a DHS Rights Form. IRENE acknowledged
he understood his rights in English and initialed by each sentence also in English, but
indicated he wanted to speak to an attorney. Your affiant went back over the information
IRENE had related earlier about the weapon prior to asking for an attorney to which he
acknowledged that the information was accurate. IRENE indicated if the agents wanted `

the weapon that they could get it through his attorney. Your Affiant allowed IRENE to

Case 1:18-mj-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 6 of 7 PagelD #: 7

10.

call his attorney from his cellphone to consult with him about the matter. During that
call, Your Affiant advised IRENE that the building would be secured until agents could
get access to the weapon. Also during the call, IRENE indicated he would give the
agents access to retrieve the weapon despite having invoked his right to consult with an
attorney earlier. After the call with his attorney, IRENE was read the contents of a
consent to search form and details of items the agents would be looking for, then signed
the form after indicating the weapon was loaded with a round of ammunition in the
chamber. He indicated he only wanted the agents to look for the weapon and not
documents or papers IRENE led the agents to the weapon with a magazine inserted, a
second magazine and two boxes of .45 caliber ammunition IRENE also signed an

abandonment form for the weapon, magazines, and the two boxes of ammunition

IRENE was transported to the lndianapolis HSI office where he was processed as the
result of his immigration arrest. Upon interview for immigration purposes, IRENE
confirmed the aforementioned information regarding his August 2004 arrest near the
U.S. border, and that he re-entered the U.S. from Mexico without authorization about a
month later around the first of September at or near the place of his original entry near
Columbus, NM. Additional lmmigration database inquiries revealed that IRENE had no
current valid immigration status in the U.S., or any active claims filed with U.S. Citizens
and Immigration Service (USCIS) and did not have permission to re-enter the U.S. from
the Secretary of Homeland Security or the U.S. Attomey General. This information was
confirmed via fingerprint comparison after IRENE was booked into the Department of
Homeland Security Database. Your Affiant also viewed a photograph of IRENE related

to his prior immigration arrest in August 2004 and confirmed that this individual was the

Case 1:18-m`j-00634-Dl\/|L Dooument 2 Filed 06/26/18 Page 7 of 7 PagelD #: 8
same person arrested by Your Affiant on June 13, 2018.

ll. Your Affiant knows from his training and experience and confirmed with Bureau of
Alcohol, Tobacco, Firearms and Explosives (ATF) Special Agent Eric Jensen that the
above listed firearm was manufactured outside the State of Indiana and by virtue of its
presence in the State of Indiana it would have had to have traveled in interstate or foreign
commerce. On June 15, 2018, Your Affiant in the presence of ATF Special Agent Eric
Jensen test fired the TAURUS, .45 caliber, Model: PT,24/7 G2C, Serial Number:

NH023231, and the weapon functioned as designed.

William Birkofer,g

Special Agent
United States Department of Homeland Security,
Homeland Security Investigations

,~»
Subscribed and sworn to me before this ogé day of June, 2018, at Indianapolis, lndiana.

/I/L/%e%//

DEBRA Mcvlo%a LYNCH
United States Magistrate Judge .
Southern District of Indiana

